
668 S.E.2d 898 (2008)
WAKE CARES, INC., et al.
v.
BOE, et al.
No. 230PA08.
Supreme Court of North Carolina.
October 29, 2008.
Robert N. Hunter, Jr., Greensboro, William Peaslee, Cary, for Wake Cares, Inc., et al.
Ann Majestic, Raleigh, Curtis H. Allen, III, for Wake Co. BOE.
Edwin M. Speas, Jr., Raleigh, for NC School Bd. Assn.
Christopher Z. Campbell, K. Dean Shatley, II, Asheville, for NC Council of School Attys.
The following order has been entered on the motion filed on the 28th day of October 2008 by NC School Boards Association for leave to file Corrected Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 29th day of October 2008."
